Case 1:19-cr-20141-JLK Document 73 Entered on FLSD Docket 08/10/2020 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION


                                 CASE NO. 19-20141-CR-KING

 UNITED STATES OF AMERICA,

 v.

 JUAN ROJAS,

         Defendant.
                                  /

         ORDER RE ZOOM GOV MEETING FOR SENTENCING HEARING

         THIS MATTER comes before the Court sua sponte.


 FOR ZOOM PARTICIPANTS:


 FLSD Room7 is inviting you to a scheduled ZoomGov meeting.



 Join ZoomGov Meeting

 https://www.zoomgov.com/j/1609515122?pwd=MWUvOE5hZ1RrWXdUUGJtbEZFYmUxZz09



 Meeting ID: 160 951 5122

 Password: 602879

 One tap mobile

 +16692545252,,1609515122#,,1#,602879# US (San Jose)

 +16468287666,,1609515122#,,1#,602879# US (New York)



 Dial by your location
Case 1:19-cr-20141-JLK Document 73 Entered on FLSD Docket 08/10/2020 Page 2 of 3




     +1 669 254 5252 US (San Jose)

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 Meeting ID: 160 951 5122

 Password: 602879

 Find your local number: https://www.zoomgov.com/u/abgaExPhwN



 Join by SIP

 1609515122@sip.zoomgov.com



 Join by H.323

 161.199.138.10 (US West)

 161.199.136.10 (US East)

 Meeting ID: 160 951 5122

 Password: 602879



 Join by Skype for Business

 https://www.zoomgov.com/skype/1609515122



         ORDERED, ADJUDGED and DECREED that the Sentencing Hearing is currently

 set for Monday,      August 17, 2020 at 10:00 a.m. at the James Lawrence King

 Federal Justice Building and U. S. Courthouse, 99 N.E. 4 th Street, 11 th Floor, Courtroom

 2, Miami, FL       Please remember to check - in at least 15 minutes prior to time of

 hearing..




                                               2
Case 1:19-cr-20141-JLK Document 73 Entered on FLSD Docket 08/10/2020 Page 3 of 3




     DONE and ORDERED in chambers at the James Lawrence King Federal Justice

   Building and United States Courthouse, Miami, Florida, this 10 th day of August, 2020.



                                          JAMES LAWRENCE KING
                                          UNITED STATES DISTRICT JUDGE

 Copies furnished to:
 All Counsel of Record




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